Case 18-70510-JAD                   Doc 60         Filed 12/13/22 Entered 12/13/22 16:42:42                                    Desc Main
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 B 2100A (Form 2100A) (12/15)



                        UNITED STATES BANKRUPTCY COURT
                                              Western District of Pennsylvania

 In re: George A Mickolick, Penny M Mickolick                                                       Case No. 18-70510

                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.
 Name of Transferee:                                                     Name of Transferor:
 Carrington Mortgage Services, LLC                                       Bank of America, N.A.


 Name and Address where notices to Transferee                            Court Claim # (if known): 12-1
 should be sent:
                                                                         Amount of Claim: $33863.87
 Carrington Mortgage Services, LLC                                       Date Claim Filed: 09/25/2018
 1600 South Douglass Road
 Anaheim, CA 92806

 Phone: 800-561-4567                                                     Phone: 800-669-6607
 Last Four Digits of Acct #: 6723                                        Last Four Digits of Acct #: 6271


 Name and Address where Transferee payments
 should be sent (if different from above):




 Phone:
 Last Four Digits of Acct #:


I declare under penalty of perjury that the information provided in this notice is true and correct to the best
of my knowledge and belief.
 By: /s/ Shakyra Hopkins                                                                        Date: 12/13/2022
 Transferee/Transferee’s Agent
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 18-70510-JAD         Doc 60    Filed 12/13/22 Entered 12/13/22 16:42:42                Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                                 Western District of Pennsylvania


 In Re:                                                             Case No. 18-70510
 George A Mickolick, Penny M Mickolick

                Debtor(s)                                           Chapter 13



                                   CERTIFICATE OF SERVICE
       I hereby certify that on 12/13/2022, a true and correct copy of the foregoing was served upon all
interested parties pursuant to the Court’s CM/ECF system.

                                                       By: /s/ Shakyra Hopkins
                                                       Authorized Agent for Transferee
                                                       1425 Greenway Drive, Suite 250
                                                       Irving, TX 75038


 Debtor through the Debtor’s Attorney of Record     Trustee
 George A Mickolick                                 Ronda J. Winnecour
 821 Cameron Avenue                                 600 Grant Street, Suite 3250
 Beaverdale PA 15921                                Pittsburgh, PA 15219

 Penny M Mickolick
 821 Cameron Avenue
 Beaverdale PA 15921


 Debtor’s Counsel                                   U.S. Trustee (if applicable)
 Kenneth P. Seitz                                   Office of the United States Trustee
 P.O. Box 211                                       1001 Liberty Avenue, Suite 970
 Ligonier, PA 15658                                 Pittsburgh, PA 15222
